     Case
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 3                          UNITED STATES DISTRICT COURT
 4                                 DISTRICT OF NEVADA
 5                                            -oOo-
 6
     UNITED STATES OF AMERICA,              )
 7                                          )
                       Plaintiff,           )         CASE NO. 2:10-cr-281-KJD-PAL
 8                                          )
        vs                                  )         ORDER
 9                                          )
     LINDA MARIE KOT, et al.                )
10                                          )
                       Defendants.          )
11   _______________________________________)
12
                  Upon consideration of the Government’s Motion to Dismiss as to LINDA MARIE
13
     KOT and MICHAEL BLAIR, it is hereby
14
                  ORDERED AND ADJUDGED that the Government’s Motion to Dismiss as to
15
     LINDA MARIE KOT and MICHAEL BLAIR is
16
                  GRANTED.
17

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                 23
     DATED this _______ day of September, 2011.
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22                                                 KENT J. DAWSON
                                                   United States District Judge
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